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                                                         Filed 05/03/23




                         United States Court of Appeals for the Sixth Circuit



  U.S. Mail Notice of Docket Activity

  The following transaction was filed on 05/03/2023.

  Case Name: USA v. Robert Brown, II
  Case Number: 23-1211

  Docket Text:
  ORDER filed: The appeal is DISMISSED for lack of jurisdiction, decision not for publication,
  No mandate to issue. Alice M. Batchelder, Circuit Judge; Helene N. White, Circuit Judge and
  Jane Branstetter Stranch, Circuit Judge.

  The following documents(s) are associated with this transaction:
  Document Description: Order

  Notice will be sent to:

  Robert M. Brown II
  F.C.I. Hazelton
  P.O. Box 5000
  Bruceton Mills, WV 26525

  A copy of this notice will be issued to:

  Ms. Kinikia D. Essix
  Mr. Andrew Goetz
